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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
              v.
                                                         1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S MOTION TO
           COMPEL DISCOVERY FROM THE UNITED STATES

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully requests pursuant to Fed. R. Cr. P. 16(d) that this

Court compel the Special Counsel to provide discovery as to how the Special Counsel obtained

confidential information the Defendant provided to Firewall Counsel pursuant to the Protective

Order. In support of this motion, Defendant states as follows:

       On August 23, 2018, in connection with a request (“Concord’s Request”) made pursuant

to the Protective Order entered by the Court, Dkt. No. 42-1, Concord provided confidential

information to Firewall Counsel. The Court was made aware of the nature of this information in

the sealed portion of Concord’s Motion for Leave to Respond to the Government’s Supplemental

Briefing Relating to Defendant’s Motion to Dismiss the Indictment, filed on October 22, 2018.

Dkt. No. 70-4 (Concord’s “Motion for Leave”). Seven days after Concord’s Request, on August

30, 2018, Assistant Special Counsel L. Rush Atkinson took investigative action on the exact

same information Concord provided to Firewall Counsel. Undersigned counsel learned about

this on October 4, 2018, based on discovery provided by the Special Counsel’s Office.

Immediately upon identifying this remarkable coincidence, on October 5, 2018, undersigned


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counsel requested an explanation from the Special Counsel’s Office, copying Firewall Counsel

on the e-mail. The Special Counsel’s Office responded to the email on October 7, 2018, but did

not explain how it obtained the confidential information, stating instead that the trial team was

unaware that undersigned counsel was in communication with Firewall Counsel and that “[n]o

criminal process that has been turned over in discovery is derived from [those] communications.”

       Having received no further explanation or information from the government, undersigned

counsel raised this issue with the Court in a filing made on October 22, 2018 in connection with

the then-pending Motion to Dismiss. In response to questions from the Court, Firewall Counsel

denied having any communication with the Special Counsel’s Office. Undersigned counsel

takes Firewall Counsel at his word that he did not disclose to the Special Counsel’s Office the

confidential information provided by Concord. However, Firewall Counsel has not substantively

responded to requests from undersigned counsel to explain whether he communicated the

confidential information to any other prosecutor or investigator who may have provided the

information to the Special Counsel. Further, the Special Counsel has not explained how it came

into possession of information that is identical to the confidential information Defendant

provided to the Firewall Counsel.

       Surely a remarkable coincidence is possible; that is, the Special Counsel obtained and

acted on the confidential information from a source other than Defendant’s communication with

Firewall Counsel. But the refusal of both the Special Counsel and Firewall Counsel to explain

belies any such conclusion.

       In light of the foregoing, and to ensure ongoing compliance with the Protective Order,

Concord requests that the Court order the Special Counsel’s Office to provide discovery as to the

manner by which it became aware of the exact same confidential information Defendant



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provided to Firewall Counsel. See, e.g., Al-Zarnouqi v. Obama, 964 F.Supp.2d 1, 3-4 (D.D.C.

2013) (ordering government to submit information regarding violation of protective order). A

proposed order is attached.

Dated: December 20, 2019                         Respectfully submitted,

                                                 CONCORD MANAGEMENT AND
                                                 CONSULTING LLC,

                                                 By Counsel,

                                                 /s/Eric A. Dubelier
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